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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                              Case No. 4:96-CR-0064(1) (PJS/FLN)

                        Plaintiff,

 v.                                                                     ORDER

 CARLOS LARON HEWITT,

                        Defendant.


       Carlos Laron Hewitt, pro se.

       Michael L. Cheever, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Defendant Carlos Laron Hewitt pleaded guilty to numerous drug-related offenses and is

currently serving a 324-month term of imprisonment. See ECF No. 651. Hewitt has twice filed

motions to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.1 See ECF Nos.

539 & 664. Both of those motions were denied. See ECF Nos. 542 & 668. Hewitt now moves

“to reopen and for leave to amend” his previous § 2255 motions based on what he claims to be

newly discovered evidence showing that his sentence was imposed in violation of the

Constitution or laws of the United States. ECF No. 691.

       Hewitt purports to bring his motion pursuant to Fed. R. Civ. P. 15(a) and Fed. R.

Civ. P. 60(b), but those rules do not authorize the relief that Hewitt seeks. In reality, Hewitt’s

motion is a transparent attempt to bring a third motion under § 2255. Hewitt cannot bring such a



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         In addition, Hewitt previously filed a petition for a writ of mandamus with the Eighth
Circuit. The Eighth Circuit construed Hewitt’s filing “as a petition for authorization to file a
successive [§ 2255] application in the district court” and denied the petition. In re Carlos Laron
Hewitt, No. 05-1691 (8th Cir. Mar. 23, 2005) [ECF No. 617].
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motion unless he first receives permission from the Eighth Circuit. See 28 U.S.C. § 2255(h).

Accordingly, this Court does not have authority to consider Hewitt’s motion.

                                            ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT the motion of defendant Carlos Laron Hewitt to reopen and for

leave to amend [ECF No. 691] is DENIED.

 Dated: January 31, 2014                          s/Patrick J. Schiltz
                                                  Patrick J. Schiltz
                                                  United States District Judge




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